Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 1 of 20




           EXHIBIT C
       Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 2 of 20



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 OPTUM, INC. and
 OPTUM SERVICES, INC.,

                     Plaintiffs,

                v.                                        Civil Action No.: 19-cv-10101

 DAVID WILLIAM SMITH,

                     Defendant.


                               AFFIDAVIT OF JOHN F. WELSH

       I, John F. Welsh, hereby state under penalty of perjury as follows:

       1.      I am counsel for David William Smith, the Defendant in this action. I submit this

Affidavit in opposition to Plaintiffs’ Motion for a Temporary Restraining Order (the “Motion”).

The matters set forth herein are based on my personal knowledge.

       2.      Plaintiffs Optum, Inc. and Optum Services, Inc. (collectively “Optum”) filed this

action on January 16, 2019. On January 17, 2019, the Court ordered the parties to meet and confer

with respect to the Motion.

       3.      I conducted a meet and confer phone conference with Optum’s counsel on January

17 and again on January 18. During these conferences, I asked Optum’s counsel if Optum would

identify a single or specific document or piece of data or trade secret that it claims Mr. Smith

retained in his possession or has given to ABC and should be destroyed or returned. Optum’s

counsel would not identify anything in particular.

       4.      In previous correspondence with Optum’s counsel, including a December 28, 2018

letter I sent on behalf of Mr. Smith responding to Optum’s December 21 letter threatening legal

action against him, I informed Optum that Mr. Smith had forwarded from his Optum email account
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 3 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 4 of 20




                     EXHIBIT 1
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 5 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 6 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 7 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 8 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 9 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 10 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 11 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 12 of 20
Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 13 of 20




                     EXHIBIT 2
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 14 of 20
  UnitedHealth Group Employment Arbitration Policy
  Acknowledgement Form
                                  DAVID SMITH
                                                  Review and Acknowledge at the bottom of this page

                                                  UnitedHealth Group Employment
                                                  Arbitration Policy


                                                                        

                                                                                                               Employment Arbitration Policy

                                                                                                                                                                                          

                                                                       A.     STATEMENT OF INTENT

                                                                       UnitedHealth Group Incorporated and its subsidiaries and affiliates (referred to as “UnitedHealth Group”)
                                                                                                                                                      [1]
                                                                       acknowledge that disagreements may arise between an individual employee            and UnitedHealth Group or
                                                                       between employees in a context that involves UnitedHealth Group. It is the intent of UnitedHealth Group that
                                                                       legal disputes be resolved as efficiently and amicably as possible, and that issues not resolved voluntarily
                                                                       through informal resolution or through the   internal dispute resolution (“IDR”) process be resolved through
                                                                       binding arbitration.  Unless excluded below, legal disputes that cannot be resolved through voluntary informal
                                                                       resolution or the IDR process are covered under this Employment Arbitration Policy (“Policy”).

                                                                        

                                                                       This Policy is a binding contract between UnitedHealth Group and its employee.  Acceptance of employment
                                                                       or continuation of employment with UnitedHealth Group is deemed to be acceptance of this Policy. 
                                                                       However, this Policy is not a promise that employment will continue for any specified period of time or end only
                                                                       under certain conditions. Employment at UnitedHealth Group is a voluntary (at will) relationship existing for no
                                                                       definite period of time and this Policy does not change that relationship.

                                                                        

                                                                       The Federal Arbitration Act (9 U.S.C. § 1 et seq.) shall govern this Policy.  All disputes covered by the Policy
                                                                       shall be decided by an arbitrator through arbitration and not by way of court or jury trial.

                                                                        

                                                                       B.     SCOPE OF POLICY

                                                                       This Policy creates a contract between UnitedHealth Group and employee requiring both parties to resolve
                                                                       employment-related disputes (except the excluded disputes listed below) that are based on a legal claim
                                                                       through final and binding arbitration. Arbitration is the exclusive forum for the resolution of such disputes, and
                                                                       the parties mutually waive their right to a trial before a judge or jury in federal or state court in favor of
                                                                       arbitration under the Policy.

                                                                        

                                                                       UnitedHealth Group and employee mutually consent to the resolution by arbitration of all claims and
                                                                       controversies, past, present, or future, that employee may have against UnitedHealth Group or UnitedHealth
                                                                       Group may have against employee, which arise out of or relate to employee’s employment, application for
                                                                       employment, and/or termination of employment.

                                                                        

                                                                       Employees are encouraged to exhaust the IDR process before initiating arbitration. If an employment-related
                                                                       dispute is not resolved through the IDR process and the dispute is based on a legal claim not expressly
                                                                       excluded from this Policy, any party to the dispute may initiate the arbitration process. UnitedHealth Group is
                                                                       not required to follow the steps of either the IDR process or the Policy before initiating or implementing any
                                                                       disciplinary action.

                                                                        

                                                                       Subject to the specific exclusions below, the claims covered by the Policy include, but are not limited to: claims
                                                                       for unfair competition and violation of trade secrets; claims incidental to the employment relationship but arising
                                                                       after that relationship ends (for example, claims arising out of or related to post-termination defamation or job
                                                                       references and claims arising out of or related to post-employment retaliation); claims for wages or other

                                                                                                                                                              000044

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 15 of 20
                                                                  compensation due (including but not limited to, minimum wage, overtime, meal and rest breaks, waiting time
                                                                  penalties, vacation pay and pay on separation); claims for breach of any contract or covenant (express or
                                                                  implied); tort claims; common law claims; equitable claims; claims for discrimination and harassment; retaliation
                                                                  claims; and claims for violation of any federal, state or other governmental law, statute, regulation, or
                                                                  ordinance, except claims excluded below.

                                                                   

                                                                  Covered claims include any disputes regarding the Policy or any portion of the Policy or its interpretation,
                                                                  enforceability, applicability, unconscionability, arbitrability or formation, or whether the Policy or any portion of
                                                                  the Policy is void or voidable, with the exception noted in the Class and Representative Actions Waivers
                                                                  section below. 

                                                                   

                                                                  Claims excluded from mandatory arbitration under the Policy are (i) Workers’ Compensation benefit claims (but
                                                                  workers’ compensation discrimination and/or retaliation claims are covered); (ii) state unemployment or
                                                                  disability insurance compensation claims; (iii) claims for severance benefits under the UnitedHealth Group
                                                                  Severance Pay Plan; (iv) claims for benefits under UnitedHealth Group’s other ERISA benefit plans; (v) claims
                                                                  for benefits under UnitedHealth Group’s Short-Term Disability Plan; (vi) claims that may not be the subject of a
                                                                  mandatory arbitration agreement as provided by Section 8116 of the Department of Defense ("DoD")
                                                                  Appropriations Act for Fiscal Year 2010 (Pub. L. 111-118), Section 8102 of the Department of Defense ("DoD")
                                                                  Appropriations Act for Fiscal Year 2011 (Pub. L. 112-10, Division A), and their implementing regulations, or any
                                                                  successor DoD appropriations act addressing the arbitrability of claims; and (vii) claims that the Dodd-Frank
                                                                  Wall Street Reform and Consumer Protection Act or other controlling federal law bars from the coverage of
                                                                  mandatory pre-dispute arbitration agreements..

                                                                   

                                                                  This Policy does not preclude an employee from filing a claim or charge with a governmental administrative
                                                                  agency, such as the National Labor Relations Board, the Department of Labor, or the Equal Employment
                                                                  Opportunity Commission, or from filing a workers’ compensation or unemployment compensation claim in a
                                                                  statutorily-specified forum. In addition, this Policy does not preclude either an employee or UnitedHealth Group
                                                                  from seeking emergency or temporary injunctive relief in a court of law in accordance with applicable law.
                                                                  However, after the court has issued a ruling concerning the emergency or temporary injunctive relief, the
                                                                  employee and UnitedHealth Group are required to submit the dispute to arbitration pursuant to this Policy.

                                                                   

                                                                   An issue is subject to arbitration only if it states a claim under applicable federal, state, or local law. An
                                                                  arbitrator or a court of law with jurisdiction shall dismiss, without a hearing on the merits, any matter which does
                                                                  not state a claim under applicable federal, state, or local law.

                                                                   

                                                                  C.         CLASS AND REPRESENTATIVE ACTION WAIVERS

                                                                  There will be no right or authority for any dispute to be brought, heard, or arbitrated as a class or collective
                                                                  action, or in a representative capacity on behalf of any other person. Nor shall the Arbitrator have any authority
                                                                  to hear or arbitrate any such dispute. Accordingly,

                                                                   

                                                                           1. There will be no right or authority for any dispute to be brought, heard or arbitrated as a class or
                                                                  collective action ("Class Action Waiver"). The Class Action Waiver shall not be severable from this Policy in any
                                                                  case in which (1) the dispute is filed as a class or collective action and (2) a civil court of competent jurisdiction
                                                                  finds the Class Action Waiver is invalid, unenforceable, unconscionable, void or voidable. In such instances,
                                                                  the class action must be litigated in a civil court of competent jurisdiction; and

                                                                   

                                                                           2. There will be no right or authority for any dispute to be brought, heard or arbitrated as a private
                                                                  attorney general act representative action ("Private Attorney General Waiver"). The Private Attorney General
                                                                  Waiver does not apply to any claim employee brings in arbitration as a private attorney general solely on
                                                                  employee’s own behalf and not on behalf of or regarding others. The Private Attorney General Waiver shall be
                                                                  severable from this Policy in any case in which a civil court of competent jurisdiction finds the Private Attorney
                                                                  General Waiver is invalid, unenforceable, unconscionable, void or voidable. In such instances and where the
                                                                  claim is brought as a private attorney general, such private attorney general claim must be litigated in a civil
                                                                  court of competent jurisdiction.

                                                                                                                                                           000045

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 16 of 20
                                                                           

                                                                  Regardless of anything else in this Policy and/or any rules or procedures that might otherwise be applicable by
                                                                  virtue of this Policy or by virtue of any arbitration organization rules or procedures that now apply or any
                                                                  amendments and/or modifications to those rules, the interpretation, enforceability, applicability,
                                                                  unconscionability or formation of the Class Action Waiver and Private Attorney General Waiver may be
                                                                  determined only by a court and not by an arbitrator.




                                                                  D.     ARBITRATION RULES AND PROCEDURES

                                                                  The arbitration will be administered by the American Arbitration Association (“AAA”) and, except as provided in
                                                                  this Policy, shall be in accordance with the then-current Employment Arbitration Rules of the AAA (“AAA
                                                                  Rules”).  The AAA Rules are available via the Internet at www.adr.org/employment or by using a search engine
                                                                  such as www.google.com to search for “AAA Employment Arbitration Rules.”  To the extent any of the terms,
                                                                  conditions, or requirements of this Policy conflict with AAA Rules, the terms, conditions, or requirements of this
                                                                  Policy shall govern,  All arbitrations shall be conducted in accordance with the Policy in effect on the date the
                                                                  Corporate Legal Department receives the Demand for Arbitration, except that any amendments to the Policy
                                                                  made after a claim arises will not be applied to proceedings related to that claim.

                                                                   

                                                                          1.       Initiation of Arbitration Proceeding

                                                                   

                                                                                    a. Arbitration Initiated by Employee - UnitedHealth Group shall pay 100 percent in excess
                                                                          of the first twenty-five dollars ($25) of the required AAA administrative fee. An employee may initiate
                                                                          arbitration by submitting, within the applicable statute of limitations period, a written demand for
                                                                          arbitration which states a claim under applicable federal, state, or local law to Corporate Legal
                                                                          Department, UnitedHealth Group, 9900 Bren Road East, MN008-T502, Minnetonka, MN 55343, with a
                                                                          check for $25 payable to “UnitedHealth Group.” The demand shall set forth the dispute, including the
                                                                          alleged act or omission at issue, the name, address and telephone number of the employee, and the
                                                                          names of all persons allegedly involved in the act or omission. Within 30 business days of receiving
                                                                          such demand UnitedHealth Group shall file the demand with the appropriate office of the AAA,
                                                                          together with the applicable administrative fee as provided in the AAA’s fee schedule.

                                                                   

                                                                                    b. Arbitration Initiated by UnitedHealth Group - UnitedHealth Group may initiate arbitration
                                                                          by submitting, within the applicable statute of limitations period, a written demand for arbitration which
                                                                          states a claim under applicable federal, state, or local law to the employee’s last home address of
                                                                          record via certified mail or overnight mail. The demand shall set forth the dispute, including the alleged
                                                                          act or omission at issue, the name, address and telephone number of the employee, and the names of
                                                                          all persons allegedly involved in the act or omission. Within 30 business days of submitting the
                                                                          demand to the employee, UnitedHealth Group shall file the demand with the appropriate office of the
                                                                          AAA, together with the applicable administrative fee as provided in the AAA’s fee schedule. When
                                                                          arbitration is initiated by UnitedHealth Group, the company is responsible for 100% of all AAA
                                                                          administrative fees.

                                                                   

                                                                          2.       Appointment of Neutral Arbitrator

                                                                          The arbitrator shall be selected in the following manner:

                                                                   

                                                                                 a. As soon as practicable, the AAA shall submit to each party an identical list of nine (9)
                                                                          proposed arbitrators.

                                                                   

                                                                                  b. Each party shall have ten (10) business days from the mailing date of the list to cross off
                                                                          names of arbitrators to which the party objects, number the remaining names in order of preference
                                                                          and return the list to the AAA. Each party may strike up to three names without cause.

                                                                   

                                                                                                                                                        000046

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 17 of 20
                                                                                c. If the party does not return the list within the time specified, all persons on the list shall be
                                                                          deemed acceptable.

                                                                   

                                                                                   d. If only one common name remains on the lists of all parties, that individual shall be
                                                                          designated as the arbitrator. If more than one common name remains on the lists of all parties, the
                                                                          AAA shall appoint an arbitrator remaining on the list in the order of preference, to the extent the order
                                                                          of preference of the parties can be reconciled by the AAA.

                                                                   

                                                                  In the event the parties fail to agree on any of the persons named, or if an acceptable arbitrator is unwilling to
                                                                  act, the AAA shall issue an additional list of arbitrator names to the parties.

                                                                   

                                                                          3.      Qualifications of Neutral Arbitrator

                                                                          Unless the parties jointly agree otherwise, the arbitrator shall be an attorney experienced in
                                                                  employment law and licensed to practice law in the state in which the arbitration is convened, or a retired judge
                                                                  from any jurisdiction.

                                                                   

                                                                          4.       Vacancies

                                                                           If a vacancy occurs, if an appointed arbitrator is unable to serve promptly, or if an arbitrator is
                                                                  disqualified under subparagraph 3 above, the vacancy shall be filled in accordance with subparagraph 2.

                                                                   

                                                                          5.       Summary Disposition

                                                                            The arbitrator shall have the authority to issue an award or partial award without conducting an
                                                                  arbitration hearing on the grounds that there is no claim stated on which relief can be granted or that there is no
                                                                  genuine issue as to any material fact and that a party is entitled to a judgment as a matter of law, consistent
                                                                  with Rule 12 or Rule 56 of the Federal Rules of Civil Procedure. Upon the request of either party, the arbitrator
                                                                  will establish a briefing schedule and, if necessary, schedule an opportunity for oral argument prior to
                                                                  considering such motions for dispositive motions.

                                                                   

                                                                          6.       Date, Time, and Place of Hearing

                                                                            The arbitrator shall set the date and time of the hearing. Unless the parties jointly agree otherwise, the
                                                                  arbitration shall take place in or near the city in which employee is or was last employed by UnitedHealth
                                                                  Group.

                                                                   

                                                                          7.       Representation

                                                                          Any party may be represented by an attorney or by him or herself. A party must inform the other party
                                                                  and the AAA of the name, address and telephone number of an authorized representative at least three (3)
                                                                  business days prior to the date set for the hearing.

                                                                   

                                                                          8.       Confidentiality

                                                                          All proceedings under this Policy are private and confidential, unless applicable law provides to the
                                                                  contrary. The arbitrator shall maintain the privacy and confidentiality of the arbitration hearing unless applicable
                                                                  law provides to the contrary. The arbitrator shall have the authority to make appropriate rulings to safeguard
                                                                  that confidentiality.

                                                                   

                                                                              9.     Stenographic Record

                                                                                                                                                          000047

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 18 of 20
                                                                           Either party may request a stenographic record of the hearing. The party that requests the record shall
                                                                  bear the cost of such a record. If both parties request a stenographic record, the cost shall be borne equally by
                                                                  the parties.

                                                                   

                                                                              10.     Discovery

                                                                   

                                                                                        a. Interrogatory - Each party shall be entitled to propound and serve upon the other party one
                                                                               interrogatory in a form consistent with Rule 33 of the Federal Rules of Civil Procedure and which shall
                                                                               be limited to the identification of potential witnesses. “Identification” means that a party must identify
                                                                               each witness’s name, current address and telephone number, and a brief description of the subject of
                                                                               testimony.

                                                                   

                                                                                       b. Requests for Production of Documents - Each party shall be entitled to propound and
                                                                               serve upon the other party one set of Requests for the Production of Documents in a form consistent
                                                                               with Rule 34 of the Federal Rules of Civil Procedure and which shall be limited in number to twenty-five
                                                                               (25) requests (including subparts, which shall be counted separately). Parties reserve the right to make
                                                                               objections to any document request on the grounds that the request is irrelevant, overly broad, vague,
                                                                               or burdensome, or any other good faith objection available under the Federal Rules of Civil Procedure.

                                                                   

                                                                                       c. Depositions - Each party shall be entitled to conduct a maximum of two (2) eight-hour days
                                                                               of depositions of witnesses or of the parties in accordance with the procedures set forth in Rule 30 of
                                                                               the Federal Rules of Civil Procedure. In addition, each party shall be entitled to conduct a maximum of
                                                                               one (1) eight-hour day of depositions of expert witnesses designated by the other party.

                                                                   

                                                                                       d.  Physical and Mental Examinations - Each party shall be entitled to obtain discovery
                                                                               consistent with Rule 35 of the Federal Rules of Civil Procedure.

                                                                   

                                                                                         e.  Arbitrator Authority - The arbitrator shall have the authority to resolve all issues
                                                                               concerning discovery that may arise between the parties. Each party can request that the arbitrator
                                                                               allow additional discovery, and additional discovery may be conducted under the parties’ mutual
                                                                               stipulation or as ordered by the arbitrator.  In addition, the arbitrator shall have the authority to issue
                                                                               subpoenas for the appearance of witnesses or the production of documents pursuant to applicable law.

                                                                   

                                                                                        f.  Prehearing Submissions - At least thirty (30) days prior to the hearing, the parties are
                                                                               required to exchange lists of witnesses, including any expert witnesses, who the parties anticipate will
                                                                               be called to testify at the hearing. In addition, the parties are required to exchange copies of all exhibits
                                                                               the parties intend to introduce as evidence at the hearing.

                                                                   

                                                                               12.     Evidence

                                                                               The arbitrator shall apply the Federal Rules of Evidence.

                                                                   

                                                                              13.     Award

                                                                   

                                                                                       a. Form - The award shall be in writing and shall set forth findings of fact and conclusions of
                                                                               law upon which the arbitrator based the award.  All awards shall be executed in the manner required
                                                                               by law.

                                                                                           
                                                                                                                                                               000048

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 19 of 20
                                                                                    b. Scope of Relief – Except as to disputes involving an employment agreement or equity
                                                                          award containing a Minnesota choice of law provision, the arbitrator shall follow the rules of law of the
                                                                          state which is the employee’s principal place of work, any applicable Federal law, and the rules as
                                                                          stated in this Policy. In cases involving an employment agreement and/or equity award with a
                                                                          Minnesota choice of law provision, the arbitrator shall follow Minnesota law, any applicable Federal
                                                                          law, and the rules as stated in this Policy.  The arbitrator shall have the authority to grant any remedy
                                                                          or relief (including attorneys’ fees where authorized by statute) that the arbitrator deems just and
                                                                          equitable and which is authorized by and consistent with applicable law, including applicable statutory
                                                                          limitations on damages.  

                                                                   

                                                                                   c. Final Judgment - The award shall be final and binding upon all parties to the arbitration.

                                                                   

                                                                          14.     Delivery of Award to Parties

                                                                           The award shall be deemed delivered to a party upon placement of the award, or a true and correct
                                                                  copy thereof, addressed to the party or its representative at the last known address in the U.S. mail, certified,
                                                                  return receipt requested; personal service of the award, or a true and correct copy thereof; or the filing of the
                                                                  award in any manner that is permitted by law.

                                                                   

                                                                          15.     Severability

                                                                          Except as provided in the clause entitled “Class and Representative Action Waivers,” above, if any
                                                                  portion or provision of this Policy is held to be void or unenforceable, the remainder of this Policy will be
                                                                  enforceable and any part may be severed from the remainder, as appropriate.

                                                                   

                                                                          16.    Judicial Proceedings and Enforcement of Awards

                                                                              Either party may bring an action in a court of competent jurisdiction to compel arbitration under this
                                                                  Policy, to enforce an arbitration award, or to vacate an arbitration award.

                                                                   

                                                                          17.     Expenses

                                                                          The expenses of witnesses for either side shall be paid by the party requiring the presence of such
                                                                  witnesses. Each side shall pay its own legal fees and expenses, except where such legal fees and expenses
                                                                  may be awarded under applicable law.

                                                                   

                                                                          18.     Time Period for Arbitration

                                                                           The written Demand for Arbitration must be received within the time period allowed pursuant to the
                                                                  statute, regulation, or other law applicable to the alleged act or omission giving rise to the dispute.  Nothing in
                                                                  this Policy relieves any party of the duty to exhaust administrative remedies by filing a charge or complaint with
                                                                  an administrative agency and obtaining a right to sue notice, where required by law. 

                                                                   

                                                                          19.     Interpretation and Application of Procedure

                                                                         The arbitrator shall interpret and apply these procedures insofar as they relate to the arbitrator’s
                                                                  powers and duties. All other procedures shall be interpreted and applied by the AAA.

                                                                   

                                                                  E.         CONSIDERATION

                                                                  The mutual obligations by UnitedHealth Group and by employee to arbitrate differences provide consideration
                                                                  for each other.  UnitedHealth Group’s payment of the filing fee in excess of $25 for employee also constitutes

                                                                                                                                                         000049

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
{DATE}
                            Case 1:19-cv-10101-MLW Document 23-3 Filed 01/22/19 Page 20 of 20
                                                                          consideration for this Policy.  Employee’s employment by UnitedHealth Group constitutes additional
                                                                          consideration.

                                                                           

                                                                          Employee and UnitedHealth Group understand and agree that through this agreement, UnitedHealth Group
                                                                          and employee give up their respective rights to a court or jury trial and that, pursuant to the terms of this Policy,
                                                                          UnitedHealth Group and employee are agreeing to arbitrate claims covered by this Policy.

                                                                           

                                                                          This Policy supersedes any and all prior versions and has been revised effective January 1, 2016.




                                                                          [1]
                                                                                Throughout this Policy, the term “employee” includes both current and former employees of UnitedHealth Group.




                      DAVID SMITH




                              I have read and agree to the above   Date Received:      08/02/2016
                                                                                       Thank You. Your acknowledgement has been
                                                                                       captured. No further action is needed.




                                                                                                                                                                     000050

https://globalselfservice.uhg.com/psc/pshpr01/EMPLOYEE/HRMS/c/UHC_HR.UHC_EMP_FORMS_ADM.GBL?Folder=MYFAVORITES[12/19/2018 9:30:01 AM]
